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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

United States of America,

      V.                                               Case No. 2:20-cr-205

                                                       Judge Michael H. Watson
Bryan William Fitzpatrick,

                                    ORDER

      There being no objections, the Court hereby adopts the Report and

Recommendation of the Magistrate Judge, EOF No. 29, that Defendant's guilty

plea be accepted. The Court accepts Defendant's plea of guilty to Count 1 of

the Information, and he is hereby adjudged guilty on that count. The Court will

defer the decision of whether to accept the plea agreement until the sentencing

hearing.

      IT IS SO ORDERED.                   (
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                                     MICI aEL HTwatsoM, JUDGE
                                     UNITED STATES DISTRICT COURT
